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IN THE UNITED sTATEs DISTRICT coURT Fl!£D BY ?c__ D.C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsION 05 JUNQ| PH |: 23

 

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CHARLENE SPINKS' w.D. os= TN, Mz-:MPH:$

Plaintiff l
v-

03 cv 2568 n/P \/

HOME TECH SERVICES CO., INC.,
et al.,

v`_¢`_¢h_¢v~_r~.,vv

Defendants.

 

BOBBIE J. CARR,
Plaintiff,
v.

03 CV 2569 D/P

HOME TECH SERVICES Co., INC.,
et alo|

\_d\_¢`.¢\_d`_r~_¢`_d\_r`_d\_r

Defendants.

 

ORDER ON PLAINTIFFS' MOTION FOR CLARIFICATION OF THE COURT'S ORAL
ORDER OF MAY ll, 2005

 

Before the Court is plaintiffs Charlene Spinks and Bobbie
Carr’s Motion for Clarification of the Court's Oral Order of May
ll, 2005, Limitation on Scope of Production and Request for a
Hearing, filed June 20, 2005. Apparently, the plaintiffs filed
this motion after receiving NovaStar's letter to the court, dated

June 15, 2005, asking the court to conduct an expedited telephone

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with Hu|a 58 and/or 79(a) FRCP on

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conference with the parties to resolve a dispute regarding the
plaintiffs' production of a database and the underlying loan
documents and information (referred to collectively as “database”).
This database has been the subject of prior motions to compel filed
by certain defendants. Plaintiffs have previously relied on.this
database in responding to discovery requests, and it is undisputed
that the plaintiffs' expert will use the database in his report.
Plaintiffs had agreed to produce this database to the defendants to
the extent the information is relevant to these particular
lawsuits, but had been unable to produce the database because it
was not in completed form.

On May ll, 2005, at a hearing on an unrelated motion, the
court asked plaintiffs' counsel about the status of the database
and, specificallyy when. it would be ready to be produced to
defendants. Counsel stated that he believed the database would be
ready by the end of the month. The court, ruling from the bench,
ordered the plaintiffs to produce the database to the defendants by
May 31, 2005.

On June 21, 2005, the court held a telephone conference with
the parties. All interested parties Were present and heard. At
the conclusion of that conference, the court clarified its May ll
order as follows:

l. By June 30, 2005, the plaintiffs shall produce those portions
of the database that they' contend. are relevant to these

lawsuits. To the extent the plaintiffs contend that portions

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of the database are not relevant to these lawsuits, those
portions of the database need not be produced.

2. Plaintiffs shall not withhold production of any portions of
the database that they contend are relevant, on the basis that
the District Judge’s ruling on the plaintiffs' pending
objections to the court's March 24, 2005 order may result in
“overproduction” of the database by the plaintiffs.

3. Production of the database shall be governed by a protective

order agreed to by the parties.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 296 in
case 2:03-CV-02568 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

